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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                                                    CASE NUMBER:


   GREG BLATT                                                         2:19−cv−07046−MWF−FFM
                                                    Plaintiff(s),

            v.
   ROSETTE PAMBAKIAN, et al.
                                                                      NOTICE TO FILER OF DEFICIENCIES IN
                                                  Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




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                                                       Deputy Clerk

   cc: Assigned District Judge and/or Magistrate Judge

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